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                    Exhibit 15
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                                  Offender Name :              JOSHUA MUNOZ
                                  Offender Type :              Tier 3

                                  Registration Start Date : 04/30/15

                                  Last Updated Date :          01/23/25




           Physical Description
      Height :           5'9"                   Weight :                175

      Eyes :             BROWN                  Hair :                  BROWN

      Race:               WHITE                 Gender:                 MALE
      Ethnicity :         HISPANIC OR           Year of Birth :         1990
                          LATINO

           Scars, Marks and Tattoos
--None Reported--




          Residential Address

  Address Type:            PRIMARY
  Address:                 383 MONROE AVE
                           LEECHBURG                     PA    15656
  Municipality:            LEECHBURG BORO
  County:                  ARMSTRONG



          Employment Address

    Address:
                                WEXFORD                   PA     15090


    Municipality:               PINE TWP
    County:                     ALLEGHENY

    General Work Area:          OFFENDER WORKS FROM HOME ADDRESS WHICH IS
                                LOCATED AT 383 MONROE AVE LEECHBURGH PA 15656
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            School Address
--None Reported--

            Vehicle Information
  Vehicle                       OWNED
  Ownership:

  Year:                         2017

  Make:                         HONDA

   Model:                       ACCORD

   Color:                       TAN

  Registration                  PA
  State:

   License Plate                LJG5520
   Number:

   Vehicle Storage Locations:   FRONT OF HOME




            Watercraft Information
 --None Reported--


            Aircraft Information
 --None Reported--
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           Offense Information
Sexual Offense Conviction(s) Recorded In Pennsylvania Sexual Offender Registry
                            Offense                                 Offense Date        Conviction Date       Is Victim Minor
 901/3123 - ATTEMPTED INVOLUNTARY DEVIATE SEXUAL
                                                                       05/31/14            01/29/15                 Yes
                    INTERCOURSE
 6318 - UNLAWFUL CONTACT OR COMMUNICATION WITH
                                                                       05/31/14            01/29/15                 Yes
                      MINOR
 6318 - UNLAWFUL CONTACT OR COMMUNICATION WITH
                                                                       05/31/14            01/29/15                 Yes
                      MINOR
* Pennsylvania law does not require the website to indicate whether the victim is or is not a minor for
offenders convicted before November 30, 2006.


Sexual Offense Conviction(s) Recorded In Pennsylvania Criminal History Repository
                            Offense                                        Offense Date                   Conviction Date
      3123A7/901 - INVOLUNTARY DEVIATE SEXUAL                                06/02/14                        01/29/15
           INTERCOURSE/CRIMINAL ATTEMPT
        6318A1 - UNLAWFUL CONTACT WITH MINOR                                 06/02/14                        01/29/15
        6318A4 - UNLAWFUL CONTACT WITH MINOR                                 06/02/14                        01/29/15


           Alias Information
            First Name                               Middle Name                                 Last Name
              JOSHUA                                   DANILO                                      MUNOZ
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          Photo Information




    10/24/24                     07/25/24                       06/10/24




    01/23/24                     10/25/23                       07/21/23




    06/21/23
                                 04/20/23

•     Any person who uses the information contained herein to threaten, intimidate, or harass the registrant
      or their family, or who otherwise misuses this information, may be subject to criminal prosecution or
      civil liability.
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      please contact the Megan's Law Section of the Pennsylvania State Police toll free at
      1-866-771-3170.
